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           IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                 NORTHERN DIVISION




 THE PROCTER & GAMBLE COMPANY
 and THE PROCTER & GAMBLE
 DISTRIBUTING CO.,
        Plaintiffs,                                 MEMORANDUM DECISION AND
                                                    ORDER GRANTING PLAINTIFF’S
                                                    MOTION FOR PREJUDGMENT
                                                    INTEREST AND DENYING
                                                    PLAINTIFF’S MOTION TO AWARD
                                                    TREBLE DAMAGES


                vs.


 RANDY L. HAUGEN, et al.,                           Case No. 1:95-CV-94 TS
        Defendants.




                                   I. INTRODUCTION

      Plaintiff moves for an award of prejudgment interest on the jury’s verdict of $19.25

million and contends that the actual damage award must be tripled pursuant to 15 U.S.C.

§ 1117(a). Defendants strongly oppose both requests. The background of the trial and

jury verdict are set forth in the Court’s Memorandum Decision and Order regarding the juror

statements (Order on Juror Statements). Issues regarding the sufficiency of the evidence

are resolved in the Court’s Memorandum Decision and Order Denying Defendants’


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Renewed Motion for Judgment as a Matter of Law and Denying Defendants’ Motion for a

New Trial (Order on Motion for a New Trial).

      The Court finds that prejudgment interest should be awarded but finds that damages

should not be multiplied under § 1117(a) because the jury’s verdict adequately

compensated Plaintiff.

                            II. PREJUDGMENT INTEREST

      “[I]n the federal context, [the Tenth Circuit] has adopted a preference, if not a

presumption, for prejudgment interest.”1

      [U]nder federal law prejudgment interest is generally available “to
      compensate the wronged party for being deprived of the monetary value of
      his loss from the time of the loss to the payment of judgment.” Despite the
      general availability of prejudgment interest absent some justification for
      withholding it, federal law does not make it available as a matter of right.
      Factored into these general compensatory principles are “fundamental
      considerations of fairness.”

      We have thus applied a two-step analysis to decide whether prejudgment
      interest should be awarded. “First, the trial court must determine whether an
      award of prejudgment interest would serve to compensate the injured party.
      Second, when an award would serve a compensatory function, the court
      must still determine whether the equities would preclude the award of
      prejudgment interest.”2




      1
        United Phosphorus, Ltd. v. Midland Fumigant, Inc., 205 F.3d 1219, 1236 (10th
Cir. 2000).
      2
        Anixter v. Home-Stake Production Co., 977 F.2d 1549, 1554 (10th Cir. 1992)
(quoting U.S. Indus., Inc. v. Touche Ross & Co., 854 F.2d 1223, 1256-57 (10th Cir.
1988)).

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       Defendants contend that prejudgment interest would not serve to compensate

Plaintiff because no compensatory damages were awarded. Defendants’ argument is

partially based on their position that the jury’s verdict represents an award of attorney fees

and other out-of-pocket expenses. Accordingly, they cite Praseuth v. Rubbermaid, Inc.,3

involving the issue of prejudgment interest for an award of attorney fees.4 However any

such argument is based upon the juror statements.5 Fed. R. Evid. 606(b) precludes the

use of the juror statements to show matters or statements occurring during the

deliberations or concerning any juror’s mental processes in connection with the verdict.

Accordingly, as more fully explained in the Order on Juror Statements, the juror statements

have been stricken and can form no part of the Court’s decision on the present Motion.

Therefore, the Court need not address Defendants’ arguments which are dependent upon

their interpretation of the inadmissible juror statements.6

       Defendants also argue that the requested prejudgement interest is not required to

compensate Plaintiff because the wrong date was used in calculating the prejudgment

interest. At trial, there was expert testimony calculating damages from May 1995, shortly

after the Amvox Messages were sent, through December 31, 1998. Plaintiff’s calculation

       3
           406 F.3d 1245 (10th Cir. 2005).
       4
           Id. at 1260.
       5
       See Defs.’ Mem. in Opp. at 6 n.4 and n.6 (quoting and citing the juror
statements).
       6
        The arguments based upon the inadmissible juror statements are that the award
would be a windfall because no compensatory damages were actually awarded (as the
verdict overcompensated for “out-of-pocket” expenses, including attorney fees) and the
verdict impermissibly awarded attorney fees. Id. at 4-6.

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of the prejudgment interest on the $19.25 million starts in May 1995.7 Defendants contend

that because the majority of the damages were not incurred until 1998, this would be an

unfair windfall.

        Plaintiff contends that the difficulty in determining the starting date of calculation of

prejudgment interest is not a basis for denying prejudgment interest. Plaintiff also points

out that its expert testimony established a basis for a damages award between $62 million

and $545 million.

        The Court has carefully considered the difficulty of establishing a start date for

prejudgment interest on damages incurred over a two-and-one-half-year period. Damages

were strongly disputed and difficult to determine due to the nature of the injury. Plaintiff

should be compensated for the delay in recovering its damages, but not overcompensated.

On balance, where the jury did not fix the damages as of dates certain, but instead within

a two-and-one-half-year time frame, the Court finds that Plaintiff will be fairly compensated

if prejudgment interest begins to accrue on the last day of that period—December 31,

1998.

        On the second prong, Defendants contend that equity precludes the award of

prejudgment interest in this case. To the extent Defendants’ argument regarding equity

is based on their position regarding the juror statements, as discussed above, the Court

need not address it.




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            Pl.’s Reply Br., Ex. A.

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       Defendants also argue that the equities preclude an award of prejudgment interest

because the long delay in this case was largely caused by the Plaintiff’s failed litigation

strategy against former defendant Amway. In this connection they cite the related litigation

in another district and the three appeals to the Tenth Circuit in this case.

       The Court has carefully considered the parties’ position on the issue of the lengthy

nature of these proceedings, their mutual allegations of fault, and the entire record in this

case, including the three decisions from the Tenth Circuit. The Court finds that it would be

inappropriate to assign fault for the length of time between the filing of the complaint and

the trial to Plaintiff. This case was complicated. It had able attorneys on both sides. Both

sides engaged wholeheartedly in the litigation. The motion filing was continuous. Plaintiff

prevailed generally on two of the three appeals. Amway, a related party, was only involved

in this case for approximately three years, and the appeal (the second appeal) of the

decision dismissing Amway was pending from approximately June 2001 through January

2003. During that same time the current Defendants8 were disputing Plaintiff’s non-

Lanham Act claims against them. The appeal involving Amway resulted from the same

order that dismissed the non-Lanham Act claims against the current defendants who

eventually went to trial.9 Thus, the time in this case that involved Amway also involved the

resolution of the non-Lanham Act claims against the current Defendants. Accordingly, that


       8
      The current Defendants are referred to as the “distributor defendants” in the
second appeal involving Amway. Procter & Gamble Co. v. Haugen, (Procter and
Gamble II), 317 F.3d 1121, 1133 (10th Cir. 2003).
       9
      Docket No. 708, also reported at Procter & Gamble Co. v. Haugen, 158
F.Supp.2d 1286 (D. Utah 2001).

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time should not be excluded as solely involving claims against dismissed defendant

Amway. Further, the Court finds that the delay resulting from the two appeals in which

Plaintiff generally prevailed more than balances out the delay resulting from the one appeal

in which it did not prevail. Considering the record as a whole, the Court finds that the delay

in this case is not attributable to Plaintiff such that it would be inequitable to award

prejudgment interest.

       The Court awards prejudgment interest. Plaintiff shall submit a new calculation of

prejudgment interest from December 31, 1998, through the date of the clerk’s judgment

in this case. Thereafter, post-judgment interest is based on the statutory rate.10

                                   III. ENHANCED DAMAGES

       The Lanham Act gives a district court discretion to award treble damages: “In
       assessing damages the court may enter judgment, according to the
       circumstances of the case, for any sum above the amount found as actual
       damages, not exceeding three times such amount.”11

       “Such sum . . . shall constitute compensation and not a penalty.”12

       Plaintiff contends that damages should be enhanced in order to fully compensate

it for the injury.     It contends that enhanced damages are required to adequately

compensate it because its evidence established very high damages and damages to its

good will but it was difficult for the jury to ascertain the exact amount of damages. Plaintiff

points out that even with the verdict trebled, it would still be recovering less than the


       10
            Anixter, 977 F.2d at 1555.
       11
            United Phosphorus, 205 F.3d at 1236.
       12
            15 U.S.C. § 1117(a).

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damages amounts established by its experts. Plaintiff also argues that Defendants failed

to show that others who spread the rumor were responsible for the damages incurred.

       Defendants contend that enhanced damages are not appropriate in this case

because they did not act willfully, because the jury chose not to fully adopt Plaintiff’s

experts’ testimony, and because Plaintiff failed to put forward any evidence of quantifiable

loss of good will. Defendants also point out that they did not have the burden to prove the

extent to which others were responsible for spread of the rumor. Defendants also make

an argument against enhanced damages based on the juror statements, which the Court

will not address.

       The Court has considered all of the arguments and the entire record in this case.

The Court finds that damages were a highly contested issue resolved by the jury’s verdict.

Good will was an element of damages that was specifically included as an element to be

determined by the jury.13 Having reviewed that verdict and the evidence at trial, the Court

finds that the jury’s verdict in the present case adequately compensated Plaintiff.

Therefore, no enhancement of the damages is warranted.

       Because the Court has determined that the verdict adequately compensates

Plaintiff, the Court need not determine whether willfulness is a requirement for the award

of treble damages under § 1117(a).




       13
         Instruction No. 20, ¶ 1 (instructing jury to consider, among other things, “the
loss of Procter & Gamble’s goodwill, including injury to its general business
reputation.”).

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                                          IV. ORDER

       Based upon the foregoing, it is

       ORDERED that Plaintiff’s Motion to Alter or Amend Judgment to Award

Prejudgment Interest (Docket No. 1157) is GRANTED. It is further

       ORDERED that Plaintiff shall file a calculation of prejudgment interest in accordance

with the above ruling. It is further

       ORDERED that Plaintiff’s Motion to Award Up to Three Times Actual Damages

(Docket No. 1157) is DENIED.

       DATED this 20th day of June, 2008.

                                       BY THE COURT:



                                       _____________________________
                                       TED STEWART
                                       United States District Court Judge




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